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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     JAMES CARL KELLY,                                    Case No. 19-cv-00125-SI
                                   8                     Plaintiff,
                                                                                              JUDGMENT
                                   9              v.

                                  10     P. SULLIVAN, et al.,
                                  11                     Defendants.

                                  12
Northern District of California
 United States District Court




                                  13           This action is dismissed without prejudice to plaintiff asserting his claims in a new complaint

                                  14   for which he pays the full filing fee at the time he files that action.

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                                  16           IT IS SO ORDERED AND ADJUDGED.

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                                  18   Dated: August 9, 2019

                                  19                                                      ______________________________________
                                                                                          SUSAN ILLSTON
                                  20                                                      United States District Judge
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